           Case 1:11-cr-00449-DAD-BAM Document 167 Filed 08/11/15 Page 1 of 2

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 4 Telephone: (559) 497-4000
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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00449-AWI-BAM-3

12                                  Plaintiff,           STIPULATION AND ORDER REFERRING
                                                         MOTION FOR APPOINTMENT OF COUNSEL TO
13                           v.                          FEDERAL DEFENDER’S OFFICE AND
                                                         PROBATION OFFICE
14   ELIODORO CERRATO MARTINEZ,

15                                 Defendant.

16

17          The Court is in receipt of a motion requesting appointment of counsel in relation to reduce a

18 criminal sentence pursuant to Title 18, United States Code, Section 3582(c)(2). The Court refers this

19 motion to the Probation Office and the Office of the Federal Defender and Assistant Federal Defender

20 Hannah Rose Larabee, pursuant to General Order No. 546. The Federal Defender’s Office shall have 60

21 days from the date the Court approves the stipulation/order to conduct an initial review of the motion to

22 determine the status of representation of the defendant. At such time, a notice of appearance shall be

23 filed in the case of representation is recommended or, if not, a notice stating that appointment is not

24 recommended.

25          This notice shall be served on the defendant.

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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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          Case 1:11-cr-00449-DAD-BAM Document 167 Filed 08/11/15 Page 2 of 2

 1 Dated: August 11, 2015                                 BENJAMIN B. WAGNER
                                                          United States Attorney
 2

 3                                                        /s/ Kathleen A. Servatius
                                                          KATHLEEN A. SERVATIUS
 4                                                        Assistant United States Attorney
 5
     Dated: August 11, 2015                               HEATHER E. WILLIAMS
 6                                                        Federal Defender
 7
                                                          /s/ Hannah Rose Labaree
 8                                                        HANNAH ROSE LABAREE
                                                          Assistant Federal Defender
 9                                                        Attorney for Defendant
10
     IT IS SO ORDERED.
11
     Dated: August 11, 2015
12
                                                    SENIOR DISTRICT JUDGE
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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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